Case 3:23-cv-01098-AGT Document 368 Filed 07/03/25 Page 1of2

JIN WEI LIU

L&C Seafood LLC

1530 22nd St NW, Ste 101
Auburn, WA 98001

Phone: (917) 584-2625
Email: jinliu@Ilcseafoods.com
Pro Se Non-Party

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

Brand Little, et al., ) Case No.: 23-cv-1098
Plaintiff, )
) MOTION TO QUASH SUBPOENA
V. ) [FRCP 45(d)(3)]

Pacific Seafood Procurement, LLC, et al.,

)
)
Defendant. )
)

PROOF OF SERVICE

|, Jin Wei Liu, declare under penalty of perjury under the laws of the United States of America
that on July 2, 2025, | served a copy of the Motion to Quash Subpoena, Declaration in Support,
Memorandum of Points and Authorities and this Proof of Service on the following:

Stuart George Gross
Gross Klein PC

The Embarcadero

Pier 9, Suite 100

San Francisco, CA 94111

Service was made by U.S. Mail, postage fully prepaid.
Case 3:23-cv-01098-AGT Document 368 Filed 07/03/25 Page 2 of 2

Executed on this 2"? day of July, 2025, in Auburn, Washington.

BE

Jin Wei Liu /
On behalf of L&C Seafood LLC

